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 9                                    UNITED STATES DISTRICT COURT

10                                  NORTHERN DISTRICT OF CALIFORNIA

11                                         SAN FRANCISCO DIVISION

12
     UNITED STATES OF AMERICA,                         )   NO. CR. 20-CR-00249 RS
13                                                     )
             Plaintiff,                                )   [PROPOSED] ORDER EXCLUDING TIME FROM
14                                                     )   FEBRUARY 14, 2023, TO JUNE 6, 2023, UNDER
        v.                                             )   THE SPEEDY TRIAL ACT
15                                                     )
     ROWLAND MARCUS ANDRADE,                           )
16                                                     )
             Defendant.                                )
17                                                     )

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19           This matter previously was set for a status conference on February 14, 2023. With the agreement
20 of the parties, the February 14, 2023, hearing was continued to March 1, 2023. On March 1, 2023,

21 Defendant Roland Marcus Andrade, represented by counsel, and the United States, through counsel,

22 appeared before the Court for a status conference in the above pending criminal action. The Court set a

23 further status conference on June 6, 2023. The parties agreed that an exclusion of time under the Speedy

24 Trial Act was appropriate from February 14, 2023, to June 6, 2023.

25           Pursuant to an agreement of the parties, and for good cause, the Court finds it is appropriate to
26 exclude time from the computation of the Speedy Trial Act deadlines. Based on the representations of
27 counsel at the status conference regarding ongoing discovery productions and disputes, the Court finds

28 that an exclusion of time is necessary to permit effective preparation of counsel. Failure to grant an

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 1 exclusion of time and a continuance of the matter would deny counsel the reasonable time necessary for

 2 effective preparation, taking into account the exercise of due diligence, pursuant to 18 U.S.C.

 3 § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time from

 4 computation under the Speedy Trial Act outweigh the best interests of the public and the defendant in a

 5 speedy trial

 6          Therefore, IT IS HEREBY ORDERED that the time between and including February 14, 2023,

 7 to June 6, 2023, shall be excluded from computation under the Speedy Trial Act, pursuant to 18 U.S.C. §

 8 3161(h)(7)(A), (B)(ii), and (B)(iv).

 9          IT IS SO ORDERED.

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11 DATED: ___________________                                   ___________________________
                                                                HON. RICHARD SEEBORG
12                                                              United States District Judge

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     [PROPOSED] ORDER
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